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                         1                             UNITED STATES DISTRICT COURT

                         2                        NORTHERN DISTRICT OF CALIFORNIA

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                         4
                              UNITED STATES OF AMERICA,
                         5                                                   No.   CR05-00122 SBA
                                          Plaintiff,
                         6
                                    v.                                       ORDER PERMITTING TEMPORARY
                         7                                                   RELEASE OF PASSPORT
                              FUTHLE NAGI,
                         8
                                        Defendant.
                         9    ______________________________/

                       10           Upon the request of defendant Futhle Nagi and good cause

                       11     appearing therefor,

                       12           IT IS HEREBY ORDERED that Futhle Nagi’s passport be

                       13     released from the Clerk of the Court, Eastern District of

                       14     California, 1130 “O” Street, Rm. 5000, Fresno, California 93721,

                       15     and personally provided to defense investigator, Sandy Glickman,

                       16     California P.I. License 16740, P.O. Box 19107, Fresno, CA 93790,

                       17     tel: 559-438-4442, no later than August 17, 2005, and said

                       18     passport is to be surrendered to the Clerk of the Court,

                       19     Northern District of California no later than August 23, 2005.

                       20           Dated: August 11, 2005

                       21
                                                                   U.S. District Court Judge
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